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                            Exhibit C
Anion Technologies Response and Objections
         to Relator’s Second RFP
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                                 UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

        UNITED STATES OF AMERICA                       )
        ex rel. DR. CLARISSA ZAFIROV,                  )
                                                       )
                   Plaintiff/Relator,                  )
                                                       )
        v.                                             )
                                                       )
        FLORIDA MEDICAL ASSOCIATES,                    ) CASE NO. 8:19-cv-01236
        LLC, d/b/a VIPCARE; PHYSICIAN                  )
        PARTNERS, LLC; ANION                           )
        TECHNOLOGIES, LLC; FREEDOM                     )
        HEALTH, INC.; and OPTIMUM                      )
        HEALTHCARE, INC.,                              )
                                                       )
                   Defendants.                         )


                   DEFENDANT ANION TECHNOLOGIES, LLC’S RESPONSES TO
                   RELATOR’S SECOND SET OF REQUESTS FOR PRODUCTION

                   Pursuant to Federal Rules of Civil Procedure 26 and 34 and Section III.A of the

        Handbook on Civil Discovery Practice in the United States District Court for the

        Middle District of Florida (the “Handbook on Civil Discovery Practice”), Defendant

        Anion Technologies, LLC (“Anion”) by and through its undersigned counsel, hereby

        serves its objections and responses to Relator’s (“Relator” or “Zafirov”) Second Set of

        Requests for Production to Anion Technologies, LLC (the “Requests”).

                                        PRELIMINARY STATEMENT

                   This response represents Anion’s diligent and best efforts to respond to

        discovery based upon the investigation which thus far has been carried out. Therefore,

        this response is given without prejudice to Anion’s right to produce evidence of any
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        additional or subsequently discovered facts, or otherwise assert factual and legal

        contentions as further facts are ascertained, analyses are made, and legal research is

        completed. The following is based solely upon such information and documents as

        are presently available and specifically known to Anion. They disclose or set forth

        documents and information based upon Anion’s current contemplation, information,

        and understanding of the issues involved in this matter. Any production of documents

        by Anion in response to Relator’s Requests is subject to Anion’s right to object to the

        admission in evidence of any and all such documents on grounds, including but not

        limited to, that they are not relevant to any claim or defense in this action, are

        otherwise inadmissible, or were produced inadvertently, any and all of which

        objections Anion reserves and does not waive.

                                       GENERAL OBJECTIONS

                   1.   Anion incorporates the following objections into each of the responses

        and objections to each request for documents (“Request”) as though fully set forth

        therein. The assertion of the same, similar, or additional objections or the provision of

        partial answers and/or individual responses to individual requests does not waive any

        of Anion’s objections as set forth below. Anion expressly reserves the right to amend

        or supplement their objections and responses for any reason.

                   2.   Anion objects to the Requests to the extent that they purport to impose

        obligations that are in excess of, and/or inconsistent with, the Federal Rules of Civil

        Procedure, the Local Rules of the United States District Court for the Middle District

        of Florida (the “Local Rules”), the Handbook on Civil Discovery Practice, or any
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        other applicable law, statute, rule or decision. Anion will produce documents and

        assert objections consistent with their obligations under these rules and applicable law

        and expressly decline to undertake any broader obligations.

                   3.   Anion’s responses herein are based on a reasonably diligent and good

        faith inquiry and represent Anion’s current knowledge as of the date these responses

        and objections are made. Further investigation may reveal additional facts,

        information, or documents that could lead to additions to, changes in, and/or

        variations from the production or responses herein. Accordingly, Anion reserves the

        right, but does not assume any obligation, except as required by law, to supplement,

        amend, correct, clarify, or modify their production, or the responses or objections

        herein, as further information becomes available.

                   4.   Anion objects to the instructions contained in the Requests (the

        “Instructions”) to the extent they are overly broad and unduly burdensome, and

        disproportional to the needs of the case.

                   5.   Anion objects to the Requests and Instructions to the extent they purport

        to impose an obligation on Anion to conduct anything beyond a reasonable and

        diligent search of readily accessible files (including electronic files) where responsive

        documents reasonably would be expected to be found. Subject to the objections stated,

        Anion will conduct a search of its reasonably accessible hard-copy and active-system

        electronic files. Any requests that seek to require Anion to go beyond such a search are

        overbroad, unduly burdensome, disproportionate to the needs of this case, and

        therefore objectionable. Further, by indicating that it will produce non-privileged,
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        responsive documents, Anion does not make a representation that such documents

        exist or are in Anion’s possession, but only that Anion will conduct the reasonable

        searches indicated for the documents or information sought.

                   6.   Anion’s production of documents is not a waiver of any of the objections

        set forth herein or an admission or acknowledgment that such material is relevant to

        the subject matter of this action or admissible in evidence, nor shall such production

        be construed as adopting a legal position. Further, the production and these responses

        are without prejudice to and not a waiver of (i) Anion’s right to contend at trial or any

        other proceeding in this action that such material is inadmissible, irrelevant,

        immaterial, or not a proper basis for discovery; and (ii) any objection by Anion to

        future use of such documents that Relator may attempt to make. In addition, the

        production and these responses are made solely for the purposes of this action.

                   7.   Anion objects to the Requests to the extent that they seek information

        that is confidential, proprietary, commercially sensitive or that constitutes private,

        personal or financial information of Anion’s employees, partners, clients, or patients;

        protected health information (“PHI”) under the Health Insurance Portability and

        Accountability Act of 1996 (“HIPAA”); information protected under Federal Rule of

        Civil Procedure 26(c), the attorney-client privilege, the attorney work-product

        doctrine, or other applicable law; and information that has been provided to Anion on

        a confidential basis or that is subject to the terms of any confidentiality order or

        agreement (“Confidential Information”). The inadvertent production of any

        document subject to the attorney-client privilege, work-product doctrine, or any other
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        applicable privilege or immunity shall not constitute a waiver of the privilege or

        immunity. Anion will produce non-privileged Confidential Information responsive to

        otherwise non-objectionable requests pursuant to the Stipulated Protective Order.

                   8.    To the extent that the Requests seek production of electronically stored

        documents (“ESI”), Anion states that, if it is in possession, custody, or control of any

        non-privileged responsive ESI, to which it does not otherwise object to producing,

        Anion will produce the ESI at a mutually agreeable time consistent with the ESI

        protocol.

                   9.    Anion objects to the Requests as unreasonable, unduly burdensome,

        overly broad and contrary to the rules applicable to this proceeding to the extent they

        call for the production of documents that cannot be obtained through a reasonable

        search of Anion’s files possessed by relevant custodians and within Anion’s custody

        or control.

                   10.   Anion objects to the Requests to the extent they seek information and

        documents that are (a) not in Anion’s possession, custody, or control; (b) in Relator’s

        possession; (c) publicly available or otherwise equally available to Relator; or (d) more

        appropriately obtained from sources other than Anion.

                   11.   Anion objects to the Requests to the extent they purport to require Anion

        to produce both physical and electronically stored versions containing duplicative

        information, which is overly broad and unduly burdensome.

                   12.   Anion reserves the right to produce documents on a rolling basis.



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                   13.   Anion objects to each Request to the extent that it seeks “any,” “all,” or

        “each and every” document(s) on a subject as overbroad, unduly burdensome, and not

        proportional to the needs of this case in that the collection of potentially responsive

        documents would require a burdensome search for documents in numerous different

        places and files, including potentially the files of several hundred people.            In

        responding to these Requests, Anion will conduct searches that are reasonable in

        scope, of reasonably accessible sources, reasonably designed to locate responsive

        documents, if any.

                   14.   In response to Zafirov’s incorporation of definitions from her First

        Request for Production served on December 15, 2022, Anion objects to such

        definitions and hereby incorporates its objections and definitions from its February 17,

        2023 objections and responses to Zafirov’s First Request for Production.

                   15.   Anion further objects to the definition of “Physician Partners physician”

        to the extent it purports to include physicians who were not employed by Florida

        Medical Associates, LLC d/b/a VIPcare (“VIPcare”) or any other Defendant or

        related entity but were only affiliates. Employed physicians, such as Dr. Zafirov, are

        W-2 employees who work exclusively for VIPcare. As employees, those physicians

        receive most, if not all, of their income and benefits from VIPcare. Employed

        physicians have an employment agreement with VIPcare, and their compensation is

        comprised mostly of a base salary, with the possibility of various additional incentive

        payments. By contrast, affiliated physicians are independent owners and operators of

        their own practices at multiple different locations around Florida. In general, affiliated
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        physicians’ income derives from several sources, only one of which is Physician

        Partners. That is because those physicians typically have contractual relationships with

        other Medicare Advantage plans, as well as other independent physician associations.

        Physician Partners’ contracts with affiliates also vary whereby some affiliates are paid

        on a fee-for-service basis, while others have chosen a capitation payment model. In

        other words, there may be stark differences even among Physician Partners’ affiliated

        physicians. Moreover, as independent business owners, affiliated physicians have

        ownership and responsibility over their own practices, including their facilities, the

        selection of insurance programs, patient scheduling, staff hiring and management, and

        their own EMR systems on which the affiliated providers – not the Provider

        Defendants – select diagnosis codes. For employed physicians, such as Dr. Zafirov,

        VIPcare takes ownership of the facilities, the selection of insurance programs, patient

        scheduling, staff hiring and management, and VIPcare’s single unified EMR system.

        In addition, affiliated physicians hire and manage their own staff; employed physicians

        do not. Affiliated physicians select their own EMR, but employed physicians must use

        the eClinicalWorks EMR. Affiliated physicians use over 20 different EMRs, each one

        of which has its own unique formatting, organization, processes and procedures for

        selecting diagnosis codes and multiple other data elements, and some affiliates were

        still using paper charts during 2017-2020. Affiliated physicians select their own

        diagnosis codes on their respective EMRs. Anion processed all billing to Freedom and

        Optimum for VIPcare physicians and for one of the 241 affiliated physicians, Dr.

        George Mansour, who did not have his own EMR or billing system, based on
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        providers’ documentation.      Affiliate physicians are documenting and adding or

        deleting diagnoses and diagnosis codes, creating and managing medical records, and

        doing coding and billing of claims to health plans in all kinds of different EMR systems

        than the eClinicalWorks EMR system used by VIPcare physicians, which would

        greatly increase the burden on the parties in having to deal with multiple different

        EMR systems on all these issues if affiliate physicians were included in discovery.

        Physician Partners contracted with 241 affiliate physicians between January 1, 2017

        and December 31, 2020. During that period, those physicians along with specialists,

        hospitals, pharmacies and other providers collectively serviced more than 56,000

        patients. These affiliate physicians performed approximately 970,000 visits with

        Freedom and Optimum members from 2017-2020. That number does not include

        medical records of visits with other types of providers that would also be in these

        providers’ possession, such as specialists, hospitals, pharmacies, and other providers.

        VIPcare employed physicians performed approximately 450,000 visits with Freedom

        and Optimum members in 2017-2020. Discovery related to the 240 affiliate physicians

        at issue will implicate millions of pages of documents, which would likely cost at least

        hundreds of thousands of dollars and perhaps more to gather, review, and produce,

        including numerous providers for whom people would need to be sent in person to the

        provider’s office to gather the documents, not to mention providers who are no longer

        affiliated and from whom Provider Defendants may no longer be able to retrieve

        records pursuant to contractual arrangements that have ended. There are significant

        differences between employed physicians on the one hand and affiliated physicians on
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        the other. Also, there are significant variations among the affiliated physicians, such

        as how they are paid and how those affiliated physicians manage their practices. These

        differences make discovery regarding affiliated physicians not relevant to Zafirov’s

        claims, especially where Zafirov failed to plead a single representative example of an

        alleged false claim submitted to Freedom or Optimum by Provider Defendants. For

        these reasons, along with the other objections noted in Anion’s written objections to

        Zafirov’s discovery requests in this matter, Anion will respond to these Requests only

        with regard to VIPcare employed physicians, and only in relation to Medicare

        Advantage beneficiaries of Freedom and Optimum, not other patients or plans.

                                              RESPONSES

                   Request for Production No. 35: All documents reviewed, analyzed, consulted,

        discussed, or used in any manner to prepare for deposition by any witness designated

        by Anion to respond to Relator’s 30(b)(6) deposition notice.

                   RESPONSE: Anion objects to this Request as the terms “reviewed,”

        “analyzed,” “consulted,” “discussed,” and “used” are vague and ambiguous and

        susceptible to multiple interpretations. Anion further objects to this Request to the

        extent it seeks documents that reflect attorney mental impressions, contain attorney

        work product, and/or are protected by the attorney-client privilege. Which documents

        were selected for preparation for a 30(b)(6) deposition implicates the work product

        doctrine because they may reveal an attorney’s view of what is relevant to a case. See

        In re Pradaxa (Dabigatran Etexilate) Prod. Liab. Litig., No. 3:12-MD-02385-DRH, 2013

        WL 1776433, at *3 (S.D. Ill. Apr. 25, 2013) (work-product doctrine protects an
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        attorney’s selection and compilation of records in preparation for a deposition because

        “disclosure of such material could reveal an attorney’s thought processes and therefore

        should be afforded work-product protection. Opposing counsel, therefore, should not

        be permitted to inquire as to which, if any, of the documents a witness reviewed were

        selected by his or her counsel.”). Anion also objects to this request as premature

        because no 30(b)(6) deposition has occurred in this case, nor has Zafirov made the

        required predicate showing for discovery of such documents even if she could

        overcome the attorney work product doctrine and attorney-client privilege. See In re

        Managed Care Litig., 415 F. Supp. 2d 1378 (S.D. Fla. 2006) (denying motion to compel

        document reviewed by 30(b)(6) witness because witness “reviewed the privileged

        document along with other materials in preparation for his deposition. None of his

        testimony during the deposition can be construed as constituting a waiver of the

        privilege.”); Medtronic Xomed, Inc. v. Gyrus ENT LLC, No. 304CV400J32MCR, 2006

        WL 786425 (M.D. Fla. Mar. 27, 2006) (rejecting motion to compel production of

        document reviewed by 30(b)(6) witness because “simply looking at a document is not

        sufficient to trigger Rule 612,” which “requires Plaintiff to meet three conditions before

        it is entitled to production of the contested document: (1) the witness must have used

        the writing to refresh his memory; (2) the witness must have used the writing for the

        purpose of testifying; and (3) the court must determine that production is necessary in

        the interests of justice”); see also Dugas v. 3M Co., No. 3:14-CV-1096-J-39JBT, 2015 WL

        12839759, at *5 (M.D. Fla. June 22, 2015) (“for Rule 612 to apply, [the party seeking

        discovery] must prove that the contested document had an impact upon the testimony
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        of the witness”). Subject to and without waiving the foregoing objections and its

        General Objections, Anion will not produce documents in response to this request at

        this time.

                   Request for Production No. 36: All medical and billing records related to any

        Physician Partners patient whose services were paid in whole or in part by any

        Government health insurance program. This request specifically includes, but is not

        limited to, all 5 Star Checklists provided to and/or completed by a provider, primary

        care and specialist provider notes, diagnostic test results, medication lists, problem

        lists, and all diagnosis codes associated with that patient whether by a provider, as a

        result of a chart review, or by any other source.

                   RESPONSE: Anion objects to this Request as overly broad and seeking

        information that is not relevant or proportional to the needs of this case for multiple

        reasons. First, it purports to include documents relating to non-Medicare Advantage

        and non-Freedom/non-Optimum beneficiaries, which are irrelevant in this case,

        which involves only Freedom and Optimum Medicare Advantage members. Anion

        further objects to this Request as overly broad and unduly burdensome to the extent it

        seeks “all 5 Star Checklists provided to and/or completed by a provider, primary care

        and specialist provider notes, diagnostic test results, medication lists, problem lists,

        and all diagnosis codes” associated with each VIPcare employed physician’s visit with

        each patient over a four-year period. During that time period, VIPcare employed

        physicians performed approximately 450,000 visits with Freedom and Optimum

        members, each one of which generated multiple pages of medical and billing records.
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        Gathering, reviewing, and producing documents responsive to this Request would cost

        hundreds of thousands of dollars, if not more. In Zafirov’s responses to interrogatories,

        Zafirov refused to identify any of the false claims or false records she alleges in this

        case beyond the twenty patients referenced in her Amended Complaint, based on her

        objection that this is “a case involving sampling” and that claims data produced by

        Defendants “will be sampled, specific false claims or false records in that sample will

        be identified, and extrapolation will be used to determine the number of false claims

        at issue in this case” based on that claims data being produced by Defendants.

        (Zafirov’s Responses and Objections to Physician Partners’ Interrogatories 1 and 2.)

        Although Anion does not agree with Zafirov’s position on that, Zafirov cannot refuse

        to identify alleged false claims or false records and assert that she will only do so after

        sampling claims data and identifying purported false claims or records within that

        sample, yet request hundreds of thousands of records having nothing to do with the

        purported false claims in any such sample (which Zafirov has not identified) or with

        the twenty patients referenced in the Amended Complaint. See, e.g., United States v.

        Cameron-Ehlen Group, Inc., 2019 WL 1453063, at *3 (D. Minn. Apr. 2, 2019)

        (“Identification of specific claims allows Defendants to conduct third-party discovery

        on only those claims actually at issue without wasting resources on potentially

        hundreds or thousands of irrelevant claims”). Zafirov cannot assert that she needs such

        discovery first before she can identify false claims or records, because “relator-plaintiffs

        must possess this information before discovery has taken place.” United States ex rel.

        Phalp v. Lincare Holdings, Inc., No. 10-CV-21094-KMW, 2016 WL 3961840, at *10
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        (S.D. Fla. Jan. 11, 2016) (emphasis in original), aff'd, United States ex rel. Phalp v. Lincare

        Holdings, Inc., 857 F.3d 1148 (11th Cir. 2017). Subject to and without waiving the

        foregoing objections and its General Objections, Anion has produced and/or will

        produce 5 Star Checklists completed by a provider, progress notes, diagnostic test

        results, medications prescribed, problem lists, and diagnosis codes identified, if any,

        for the visits with the twenty patients specifically referenced in the Amended

        Complaint.

                                                       /s/ Jason P. Mehta______
                                                       Jason P. Mehta
                                                       Fl. Bar No. 106110
                                                       Primary email: jmehta@foley.com
                                                       Secondary email: dmills@foley.com

                                                       Lauren L. Valiente
                                                       Fl. Bar No. 034775
                                                       Primary email: lvaliente@foley.com
                                                       Secondary email: dguillen@foley.com

                                                       Joseph W. Swanson
                                                       Fl. Bar No. 29618
                                                       Primary email: joe.swanson@foley.com
                                                       Secondary email: dmills@foley.com

                                                       Michael P. Matthews
                                                       Fl. Bar No. 63988
                                                       Primary email: mmatthews@foley.com
                                                       Secondary email: dguillen@foley.com

                                                       Foley & Lardner LLP
                                                       100 N. Tampa Street, Suite 2700
                                                       Tampa, FL 33602
                                                       Telephone: (813) 229-2300
                                                       Facsimile: (813) 221-4210




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                                                   Counsel for Defendant Physician Partners,
                                                   LLC, Florida Medical Associates, LLC d/b/a
                                                   VIPcare, and Anion Technologies, LLC

                                    CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that on March 20, 2024, a copy of the foregoing was

        served by email to all counsel of record using the email addresses they have registered

        with the CM/ECF system for the U.S. District Court for the Middle District of Florida

        (Tampa Division).


                                                   /s/ Jason P. Mehta______
                                                   Jason P. Mehta




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